           Case 1:13-cv-01030-DLC Document 55 Filed 07/12/13 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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TRIPOINT GLOBAL EQUITIES, L.L.C., A
Maryland limited liability company, in its capacity
as collateral agent for CIP, L.L.C., a Kansas limited              Case No.1:13-cv-1030 (DLC)
company and CARL W. GROVER,

                          Plaintiff,                               NOTICE OF MOTION

        -against-

ANTONIO R. FASOLINO, FASOLINO FOODS
USA, INC, FASOLINO FOODS CO., INC.,
FASOLINO ENTERPRISES, INC. and
FASOLINO WINE & SPIRITS, INC.,

                           Defendants,
------------------------------------------------------------x

ANTONIO R. FASOLINO, FASOLINO FOODS
USA, INC, FASOLINO FOODS CO., INC.,
FASOLINO ENTERPRISES, INC. and
FASOLINO WINE & SPIRITS, INC.,

                          Third-Party Plaintiffs,

        -against-

CARL W. GROVER, WILLIAM MOORE, CIP,
HUNTER, TAUBMAN AND WEISS, LLP.,
STEVEN WEISS, ESQ., AND SUNFLOWER
CAPITAL, LLC.,

                          Third-Party Defendants.

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        PLEASE TAKE NOTICE, that upon the annexed Declaration Barry Jacobs, Esq., dated

July 9, 2013, together with the exhibits annexed hereto that the Third-Party defendants, HUNTER

TAUBMAN AND WEISS, LLP. and STEVEN WEISS, ESQ., will move this Court before the

Honorable Denise Cote, at the Courthouse for the Eastern District of New York, located at 225
         Case 1:13-cv-01030-DLC Document 55 Filed 07/12/13 Page 2 of 2



Cadman Plaza, Brooklyn, New York, on a date and time to be determined by the Court, pursuant to

the Federal Rules of Civil Procedure and the Local Rules, for an Order pursuant to Federal Rule of

Civil Procedure 12(b)(6) and Federal Rule of Civil Procedure 14, to dismiss the Third-Party

Complaint against them, together with such other and further relief as this Court may deem just

and proper.


Dated: New York, New York
       July 12, 2013

                                             ABRAMS, GORELICK, FRIEDMAN &
                                             JACOBSON, LLP
                                             Attorneys for


                                             By:___/s/_____________________
                                                    Barry Jacobs, Esq. (BJ-0216)
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                                             File No.: 14282

TO:    Marshall Clinton Turner
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